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Western Division

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"FLFD. Cti'" TN, MEF~/ll':‘i'li$
UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20181-Ma

VERLES MORRIS

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
MONDAY, JUNE ]3, 2005 at P.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States

Marshal and produced for the hearing.

Daie; June s, 2005 M

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

'lf not held immediately upon defendants first appearanee, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142({)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(t`) are present. Subsection ( ] ) sets forth
the grounds that may be asserted only by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AG 470 (BIBS) Order of Ternporary Detention

Tnis document entered on the docket sheet tn compliance
with Ftute 55 and/or 32(b) FRCrP on "’ ’

 

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 8 in
case 2:05-CR-20181 Was distributed by f`aX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

